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                            UNITED STATES BANKRUPTCY COURT

                          SOUTHERN DISTRICT OF OHIO (DAYTON)

IN RE:                                             *                 CASE NO. 19-30822

TAGNETICS INC.                                     *                 JUDGE HUMPHREY

         INVOLUNTARY DEBTOR                        *                 CHAPTER 7


        Now comes S-Tek, Inc., by and through counsel, and hereby withdrawals the Motion to Withdraw
from Bankruptcy Proceedings of Petitioning Creditor S-Tek, inc. (Doc. 64). The document did not list the
intended party.




                                                            Respectfully submitted,

                                                            /s/ Christopher L. Wesner
                                                            Christopher L. Wesner, #0082699
                                                            Miller Luring Venters & Wesner Co., LPA
                                                            314 W Main Street
                                                            Troy OH 45373
                                                            937-339-8001 (Phone)
                                                            855-339-5440 (Fax)
                                                            chriswesnerlaw@gmail.com




                                       CERTIFICATE OF SERVICE

         I hereby certify that this document was served by email (when the email address of the

party was available to me) and regular U.S. mail this day of July 22, 2019 upon the following:

            John White
            Care of Stephen B. Stern
            238 W. Street
            Annapolis, MD 21401

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                                      Document     Page 2 of 2


         Counsel for Tagnetics Inc.

         Robert Kracht
         101 W. Prospect Avenue, Suite 1800
         Cleveland, OH 44115
         Counsel for Tagnetics Inc.

         Kenneth W Kayser
         PO Box 115
         Catawba, VA 24070

         Ronald E. Early
         6429 Winding
         Tree Dr New
         Carlise, OH
         45344

         Kayser Ventures Ltd
         1872 Pratt Dr
         Ste 1800
         Blacksburg , VA 24060

         Jonathan Hager
         2170 River Oaks Drive
         Salem, VA 24153

         Robert Strain
         427 Artell St.
         Marcengo, IL 60512

         S-Tek Inc.
         1 100 Wayne St
         Suite 5000
         Troy, OH 45373

                                               /s/ Christopher L. Wesner




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